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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                        CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                 CLERK OF COURT

Date: January 17, 2023                                     DC Docket #: 11-cv-1590
Docket #: 21-2690cv                                        DC Court: SDNY (NEW YORK CITY)
Short Title: Universitas Education, LLC v. Nova Group, Inc DC Docket #: 11-cv-8726
                                                           DC Court: SDNY (NEW YORK CITY)
                                                           DC Judge: Pitman
                                                           DC Judge: Swain



                            NOTICE OF DEFECTIVE FILING

On January 17, 2023 the Notice of Hearing Date Acknowledgment, on behalf of the Appellee
Universitas Education, LLC, was submitted in the above referenced case. The document does not
comply with the FRAP or the Court's Local Rules for the following reason(s):

______ Failure to submit acknowledgment and notice of appearance (Local Rule 12.3)
______ Failure to file the Record on Appeal (FRAP 10, FRAP 11)
______ Missing motion information statement (T-1080 - Local Rule 27.1)
______ Missing supporting papers for motion (e.g, affidavit/affirmation/declaration) (FRAP 27)
______ Insufficient number of copies (Local Rules: 21.1, 27.1, 30.1, 31.1)
______ Improper proof of service (FRAP 25)
       ______ Missing proof of service
       ______ Served to an incorrect address
       ______ Incomplete service (Anders v. California 386 U.S. 738 (1967))
______ Failure to submit document in digital format (Local Rule 25.1)
______ Not Text-Searchable (Local Rule 25.1, Local Rules 25.2), click here
       for instructions on how to make PDFs text searchable
______ Failure to file appendix on CD-ROM (Local Rule 25.1, Local Rules 25.2)
______ Failure to file special appendix (Local Rule 32.1)
______ Defective cover (FRAP 32)
       ______ Incorrect caption (FRAP 32)
       ______ Wrong color cover (FRAP 32)
       ______ Docket number font too small (Local Rule 32.1)
______ Incorrect pagination, click here for instructions on how to paginate PDFs
      (Local Rule 32.1)
______ Incorrect font (FRAP 32)
______ Oversized filing (FRAP 27 (motion), FRAP 32 (brief))
______ Missing Amicus Curiae filing or motion (Local Rule 29.1)
______ Untimely filing
__XX____ Incorrect Filing Event – NOTE: Must be filed using the “Notice of Hearing Date
Acknowledgment filed” filing event.
______ Other: ___________________________________________________
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       Please cure the defect(s) and resubmit the document, with the required copies if
necessary, no later than January 19, 2023. The resubmitted documents, if compliant with FRAP
and the Local Rules, will be deemed timely filed.

        Failure to cure the defect(s) by the date set forth above will result in the document being
stricken. An appellant's failure to cure a defective filing may result in the dismissal of the appeal.

Inquiries regarding this case may be directed to 212-857-8623.
